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Matter(s): 100
Period: 11/1/2021 ‐ 12/31/2021

                                                                      Time Detail
                                                                                                              R
Date              Timekeeper Name         Description                                                         a   Hours   Amount
                                          Telephone call with G. Winkler regarding
11/01/2021        Schleicher, Tara J.                                     (.2); complete conflict of              0.40     N/C
                                          interest form for counsel (.2).
                                          Review pleadings filed by SEC to appoint a receiver and
11/03/2021        Schleicher, Tara J.                                                                             0.20    $85.00
                                          exchange e‐mails with client regarding

                                          Exchange e‐mails with client regarding
11/04/2021        Schleicher, Tara J.                                                                             0.10    $42.50

                                          Review docket for objection filed by defendants to
11/15/2021        Schleicher, Tara J.     appointment of receiver (.1); review reply filed by SEC to              0.30    $127.50
                                          objection (.1); e‐mail to clients regarding      (.1).

                                          Review e‐mail from client
                                                                                             briefly review
                                          documents and instructions to paralegal regarding same (.2); e‐
                                          mail to client regarding                         (.1); review and
                                          revise notice of appearance (.1); review motion for final
                                          judgment and other documents regarding background (.4);
                                          draft letter to R. Romero at Seattle Credit Union regarding
11/23/2021        Schleicher, Tara J.                                                                             1.70    $722.50
                                          entry of order appointing receiver and control of account(s)
                                          (.2); instructions to paralegal regarding e‐mail address for
                                          Seattle CU (.1); review e‐mail regarding no cooperation from
                                          CU and federal express instead (.1); review and revise letter to
                                          CU (.1); review and sign same (.1); review and revise notice of
                                          appearance as proposed counsel (.2); instructions to legal
                                          assistant regarding motion to employ counsel for receiver (.1).

11/23/2021        Rhine, Kesarah          Draft Notice of Appearance as to T. Schleicher.                         0.20    $39.10
                                          Review e‐mail from SEC regarding article in Law 360 and sale of
11/24/2021        Schleicher, Tara J.                                                                             0.10    $42.50
                                          property.

                                          Review e‐mail from F. Siderius regarding sale of real property,
                                          Seattle CU account, etc. and e‐mail to client regarding
11/29/2021        Schleicher, Tara J.     (.1); exchange e‐mails with client regarding                            0.30    $127.50
                                                          (.1); e‐mail to F. Siderius regarding phone
                                          conference with G. Winkler and counsel (.1).

                                          Draft of motion to employ Foster Garvey (.5); Draft order on
                                          motion to employ Foster Garvey (.5); reviewed RCW 7.60.180
12/01/2021        Grgurevic, Krešimir                                                                             1.20    $300.00
                                          regarding employment and compensation of professionals in
                                          relation to a receiver (.2).
12/01/2021        Rhine, Kesarah          Prepare SS‐4 Form.                                                      0.10    $19.55




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                                                                      Time Detail
                                                                                                                  R
Date              Timekeeper Name         Description                                                             a   Hours   Amount


                                          Exchange e‐mails with F. Siderius and client regarding phone
                                          conference logistics (.5); review order for deadlines and
                                          requirements and compile list of questions for F. Siderius (.2);
                                          telephone call with Seattle Credit Union and left message for
                                          Scott Rosenberg (.3); instructions to legal assistant regarding
                                          docketing (.1); review federal express tracking number and
                                          delivery data to Seattle Credit Union (.1); exchange e‐mails with
                                          client regarding                                                (.1);
                                          telephone call with defense counsel and clients regarding
12/01/2021        Schleicher, Tara J.                                                                                 2.90    $1,232.50
                                                                              (.5); review e‐mail from F.
                                          Siderius with some of the requested information (.1); respond
                                          to same regarding W. Ho contract information needed (.1);
                                          telephone call with A. Sorbera at Seattle CU regarding accounts
                                          held by EDC III and need for statements (.5); e‐mail to client
                                          regarding
                                                                  (.1); e‐mail to A. Sorbera regarding
                                          request for bank statements (.1); review e‐mail from client
                                          regarding      (.1); instructions to paralegal regarding same (.1).




                                          Review and revise SS‐4 for EIN (.1); e‐mail to client regarding
                                                                           (.1); exchange e‐mails with
                                          Seattle CU representative regarding status on bank statement
                                          and certified statement filing required (.3); review e‐mail from
                                          F. Siderius regarding contact at Seattle CU (.1); complete SS‐4
12/02/2021        Schleicher, Tara J.     EIN application and exchange e‐mails with client regarding                  1.80    $765.00
                                                 (.2); review and revise motion and order to employ FG as
                                          counsel for receiver (.5); exchange e‐mails with client regarding
                                                             (.1); review and finalize motion and order to
                                          employ FG (.1); review and sign same (.1); review e‐mail from
                                          F. Siderius regarding document production status (.2).


                                          Separate out the responses from Securities and Exchange
12/03/2021        Grgurevic, Krešimir                                                                                 1.60    $400.00
                                          Commission ‐ 2nd Responses for Production

                                          Confer regarding issues with SS‐4 and exchange e‐mails with
                                          client regarding       (.1); exchange e‐mails with F. Sederius
                                          regarding EIN for EDC III (.1); review e‐mails from F. Sederius
12/03/2021        Schleicher, Tara J.     regarding document production and investor list (.4); e‐mail to             1.10    $467.50
                                          clients regarding                                         (.2);
                                          review Seattle CU statements and e‐mail same to clients (.2);
                                          instructions to paralegal regarding document production (.1).

                                          Revision to SS‐4 (.1); telephone call to IRS (.1); apply for EIN
12/03/2021        Garcia, Francesca       using IRS website (.1); correspondence and telephone calls                  0.50    $125.00
                                          with T. Schleicher regarding                        (.2).



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                                                                     Time Detail
                                                                                                              R
Date              Timekeeper Name         Description                                                         a   Hours    Amount

12/06/2021        Grgurevic, Krešimir     Review and organize document production from defendants.                2.00     $500.00

                                          Instructions to legal assistant regarding
                                                                       (.2); briefly review documents
12/06/2021        Schleicher, Tara J.                                                                             0.60     $255.00
                                          produced by defendants and sharelinks revised for
                                          folder/documents (.3); e‐mail to clients regarding      (.1).

                                          Multiple telephone calls to the IRS regarding EIN (.2); apply for
                                          (unsuccessfully) EIN for Receivership Estate of Washington
12/06/2021        Garcia, Francesca       Economic Development Capital III LLC (.1); telephone calls and          0.50      N/C
                                          correspondence with T. Schleicher regarding
                                          (.2).
                                          Review IRS requirements for EIN and timing if fax file for EIN
12/07/2021        Schleicher, Tara J.                                                                             0.20      N/C
                                          (.1); instructions to paralegal regarding same (.1).

                                          Multiple telephone calls with the IRS regarding EIN denial (.2);
12/07/2021        Garcia, Francesca       multiple attempts to apply for EIN (.1); telephone calls and            0.50      N/C
                                          correspondence with T. Schleicher regarding          (.2)

12/08/2021        Schleicher, Tara J.     Telephone call with client regarding             (message).             0.10      N/C
                                          Review status report filed by SEC (.1); e‐mail same to clients
12/15/2021        Schleicher, Tara J.     (.1); review e‐mail from client regarding                               0.30     $127.50
                                                    (.1).
                                          Draft letter to Seattle CU regarding
12/17/2021        Schleicher, Tara J.                                                                             0.20     $85.00
                                                        (.1); review and revise same (.1).
                                          Instructions to legal assistant regardingcall/e‐mail to Seattle
12/23/2021        Schleicher, Tara J.     Credit Union regarding transfer of funds status (.1); review            0.20     $85.00
                                          response (.1).
                                          Prepare e‐mail to Seattle CU regarding demand for update on
12/27/2021        Schleicher, Tara J.                                                                             0.10     $42.50
                                          transfer of funds.

                                          Total Fees                                                              17.20   $5,591.15




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                                              Summary of Fees
                  Timekeeper Name                               Hours    Amount
                  Garcia, Francesca                              1.50    $125.00
                  Grgurevic, Krešimir                            4.80   $1,200.00
                  Rhine, Kesarah                                 0.30     $58.65
                  Schleicher, Tara J.                           10.60   $4,207.50

                  Total Fees                                    17.20   $5,591.15

                                           Summary of Costs
                  Cost Description                                      Amount
                  Overnight Shipping/Delivery ‐                          $12.74

                  Total Costs                                            $12.74
                  Total Fees and Costs                                  $5,603.89




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